CASE 0:24-cv-00073-DWF-JFD Doc. 1 Filed 01/10/24 Page 1 of 6




                                              24-cv-73 DWF/JFD
CASE 0:24-cv-00073-DWF-JFD Doc. 1 Filed 01/10/24 Page 2 of 6
CASE 0:24-cv-00073-DWF-JFD Doc. 1 Filed 01/10/24 Page 3 of 6
CASE 0:24-cv-00073-DWF-JFD Doc. 1 Filed 01/10/24 Page 4 of 6
CASE 0:24-cv-00073-DWF-JFD Doc. 1 Filed 01/10/24 Page 5 of 6
CASE 0:24-cv-00073-DWF-JFD Doc. 1 Filed 01/10/24 Page 6 of 6
